Case 2:20-cv-11181-CAS-JPR Document 66-6 Filed 11/01/21 Page 1 of 2 Page ID #:1258




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    9
   10                      UNITED STATES DISTRICT COURT
   11        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   12
   13 NEMAN BROTHERS & ASSOC.,                 Case No. 2:20-cv-11181-CAS-JPRC
      INC., a California Corporation,
   14                                          DECLARATION OF CHANGUANG
                   Plaintiff,                  TAO IN FURTHER SUPPORT OF
   15                                          DEFENDANT INTERFOCUS, INC.
            v.                                 D.B.A. WWW.PATPAT.COM’S:
   16
      INTERFOCUS, INC. d.b.a.                   1) MOTION FOR SUMMARY
   17 www.patpat.com, a Delaware                   JUDGMENT AND PARTIAL
      Corporation; CAN WANG, and                   SUMMARY JUDGMENT ON
   18 individual, and DOES 1-10, inclusive.,       PLAINTIFF’S COMPLAINT
                                                   AND DEFENDANT’S
   19              Defendants.                     COUNTERCLAIM; AND
   20                                           2) OPPOSITION TO PLAINTIFF’S
      INTERFOCUS, INC. d.b.a.                      MOTION FOR SUMMARY
   21 www.patpat.com, a Delaware                   JUDGMENT
      Corporation; CAN WANG, an
   22 individual, and DOES 1-10, inclusive,     Date:      December 6, 2021
                                                Time:      10:00 am
   23              Counterclaim Plaintiffs,
                                                Courtroom: Courtroom 8D
   24        v.
                                               The Hon. Christina A. Snyder
   25 NEMAN BROTHERS & ASSOC.,
      INC., a California Corporation,
   26
                   Counterclaim Defendant.
   27
   28

                                 DECLARATION OF CHANGUANG TAO
Case 2:20-cv-11181-CAS-JPR Document 66-6 Filed 11/01/21 Page 2 of 2 Page ID #:1259
